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                   EXHIBIT N
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                                                                    other organizations, contends that the objecting organizations
                                                                    timely filed applications for consideration of a cy pres award,
                  2011 WL 7460099
                                                                    but were excluded from the final list based on Class Counsel's
    Only the Westlaw citation is currently available.
                                                                    bias towards distribution of cy pres funds to “organizations
     United States District Court, N.D. California,
                                                                    that are currently paid by [Defendant] to lobby for or to
                  San Jose Division.
                                                                    consult for the company.” (hereafter, “EPIC Objection,”
     In re GOOGLE BUZZ PRIVACY LITIGATION.                          Docket Item No. 121 at 2.) EPIC further contends that Class
                                                                    Counsel's bias toward organizations favorable to Defendant
                     No. C 10–00672 JW.                             has resulted in a proposed list of organizations that fails to
                               |                                    distribute the funds in accord with the legitimate objectives
                         June 2, 2011.                              underlying the lawsuit, the interests of class members and the
                                                                    interests of those similarly situated. (EPIC Objection at 3.)

     AMENDED ORDER GRANTING FINAL                                   Upon review, the Court finds that aside from a few necessary
  APPROVAL OF CLASS ACTION SETTLEMENT;                              modifications, Class Counsel's proposed nomination list
      APPROVAL OF CY PRES AWARDS;                                   adequately represents the interests of the Class and provides
      AND AWARDING ATTORNEY FEES                                    an effective range of projects serving a large swath of
                                                                    populations and interests. Thus, the Court adopts Class
JAMES WARE, Chief Judge.                                            Counsel's nominated list with two modifications. First, the
                                                                    Court does not find good cause to exclude EPIC from the list
*1 Presently before the Court are the parties' Motion for
                                                                    of recipients of the cy pres funds. EPIC has demonstrated that
Final Approval of Class Settlement 1 and Plaintiffs' Motion         it is a well-established and respected organization within the
for Attorney Fees. 2 Pursuant to the Order Preliminarily            field of internet privacy and that it has sufficiently outlined
Approving Class Action Settlement issued by the Court on            how the cy pres funding will be used to further the interests
October 7, 2010, Class Notice, including notice of the Final        of the class. Second, the Court also nominates the Markkula
Fairness Hearing, was sent to the Class. On February 7, 2011,       Center for Applied Ethics at Santa Clara University. The
the Court conducted a hearing on Final Approval of Class            Markkula Center is dedicated to research and dialogue on
Settlement and Application for Attorney Fees and Costs.             issues of practical ethics. The Center has included internet
Counsel for the parties were present.                               privacy issues as one of the subjects it addresses, and is
                                                                    committed to expanding this program using the cy pres funds.
On February 16, 2011, following review of the papers
regarding final approval and in response to objections at the        *2 Accordingly, based on the papers submitted to date and
Hearing, the Court issued an Order Re. Nomination Process           oral argument, the Court finds and orders as follows:
For Cy Pres Recipients requiring modification of the cy pres
nomination process to allow for additional Court oversight.           (1) This Order incorporates by reference the definitions in
(See Docket Item No. 117.) The February 16 Order included             the Settlement Agreement, and all terms as used in this
the reservation that the Court may designate cy pres recipients       Order shall have the meaning as set forth in the Settlement
and dispersal amounts on its own motion. (Id. at 2.) On               Agreement.
March 25, 2011, pursuant to the Court's February 16 Order,
                                                                      (2) For purposes of this litigation, the Court has subject
Plaintiffs' counsel submitted a list of cy pres organizations and
                                                                      matter and personal jurisdiction over the parties, including
distribution amounts for Court approval. (See Docket Item
                                                                      all Class Members.
No. 119.)
                                                                      (3) The Settlement Agreement previously provided by the
Certain organizations who had applied for a cy pres                   Court is adopted by the Court and made part of this Order
nomination and were not included on the final list filed              as if set out in full herein.
Objections regarding the proposed list of nominations and
distribution amounts. (See Docket Item Nos. 121, 122, 125.)           (4) Pursuant to   Fed.R.Civ.P. 23(a) and      23(b)(3), the
In one of the Objections, the Electronic Privacy Information          proposed Class is hereby certified for settlement purposes
Center (“EPIC”), on behalf of itself and a number of                  only. The Settlement Class is defined as follows:



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  All Gmail users in the United States presented with               (8) Michael F. Ram, Ram & Olson LLP, is hereby
  the opportunity to use Google Buzz through the Notice             confirmed as Liaison Counsel.
  Date. Excluded from the Class are: (1) Google, or any
  entity in which Google has a controlling interest, and            (9) William B. Rubenstein, Peter N. Wasylyk, Andrew
  its respective legal representatives, officers, directors,        S. Kierstead, Peter W. Thomas, Thomas Genshaft, P.C.;
  employees, assigns and successors; (2) the judge to whom          Michael D. Braun, Braun Law Group, P.C.; Donald
  this case is assigned and any member of the judge's               Amamgbo, Amamgbo & Associates; Reginald Terrell,
  staff and immediate family; and (3) any person who, in            the Terrell Law Group; Jonathan Shub, Shub Law LLC;
  accordance with the terms of this Agreement, properly             Christopher A. Seeger, Seeger Weiss LLP; Lawrence
  executes and submits a timely request for exclusion from          Feldman, Lawrence E. Feldman & Associates; Eric Freed,
  the Class.                                                        Freed & Weiss LLC; and Howard G. Silverman, Kane &
                                                                    Silverman P.C., are hereby confirmed as Class Counsel.
  (5) Pursuant to      Fed.R.Civ.P. 23, and for purposes of         *3 (10) The parties have provided notice in a manner
  settlement only, the Court makes the following findings of         consistent with the Order granting the parties' Motion
  fact and conclusions of law:                                       for Preliminary Approval of Class Action Settlement
                                                                     and as set forth in the Settlement Agreement. The
  (a) The Settlement Class is sufficiently definite;
                                                                     notice, as implemented, met the requirements of due
  (b) The Settlement Class is so numerous that joinder of all        process and was the best notice practicable under the
     members of the Settlement Class is impracticable;               circumstances. The notice was reasonably calculated,
                                                                     under the circumstances, to apprise members of the
  (c) There are questions of law and/or fact common within           Settlement Class of the pendency of the action, the terms
     the Settlement Class;                                           of the Settlement, and their right to appear, object to,
                                                                     or exclude themselves from the Settlement. Further, the
  (d) Plaintiffs' claims are typical of the claims of the
                                                                     notice was reasonable and constituted due, adequate and
     members of the Settlement Class;
                                                                     sufficient notice to all persons entitled to receive notice.
  (e) Plaintiffs and their counsel have and will fairly and          The Defendant notified the appropriate federal and state
     adequately represent and protect the interests of the           officials pursuant to the Class Action Fairness Act of
     Settlement Class;                                               2005 (“CAFA”), 28 U.S.C. § 1715.

  (f) Plaintiffs' interests do not conflict with the interests of   (11) Class Counsel retained The Garden City Group, Inc.
     the Settlement Class in the maintenance of this action;          to assist in disseminating Notice in accordance with the
                                                                      terms of the Settlement Agreement and the Court's Order
  (g) The questions of law and/or fact common to                      granting the parties' Motion for Preliminary Approval of
     the Settlement Class predominate over the questions              Class Action Settlement. It is apparent from the Affidavit
     affecting only individual members of the Settlement              of Jennifer M. Keough in Support of Plaintiffs' Motion
     Class; and                                                       for Final Approval of Class Action Settlement, the
                                                                      Declaration of Susan Fahringer and the Declaration of
  (h) Certification of the Settlement Class is superior to other      Brian Stoler that the Notice was properly implemented
     available methods for the fair and efficient adjudication        and effective.
     of this controversy.
                                                                    (12) The Court has determined that full opportunity has
  (6) The Settlement Agreement and the terms contained                been given to the members of the Settlement Class
  therein are hereby approved as fair, reasonable, and                to opt out of the Settlement, object to the terms of
  adequate, and in the best interests of the Class as a whole.        the Settlement or Class Counsel's request for attorney
                                                                      fees and expenses, and otherwise participate in the
  (7) Gary E. Mason, Mason LLP, is hereby confirmed as
                                                                      Final Approval Hearing on February 7, 2011. The
  Lead Class Counsel.
                                                                      Court has considered all submissions and arguments
                                                                      provided by Class Members objecting to the Settlement,
                                                                      as well as Class Counsel's response to those Objections,


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                                                                  had received a total of 77 applications seeking more
       and has determined that none of the Objections
                                                                  than $35 million altogether. Pursuant to section 3.4
       warrants disapproval of the Settlement Agreement and/
                                                                  of the Settlement Agreement, counsel met and agreed
       or Plaintiffs' request for attorney fees and expenses.
                                                                  to nominate a total of 12 groups for $6,065,000 of
  (13) Following the February 7, 2011 Final Approval              funding. In accordance with the Court's February 16,
    Hearing, the Court issued an Order on February 16,            2011 Order, Class Counsel submitted these organization
    2011 directing the parties to solicit nominations from        and distribution amount nominations to the Court on
    organizations interested in receiving awards from the cy      March 25, 2011. Having reviewed Class Counsel's
    pres fund established by this Settlement and ordering         submission and the Objections filed in response to the
    Class Counsel to consolidate the list and submit cy           submission, the Court hereby approves the following list
    pres organization and distribution amount nominations         of nominated organizations and amounts as submitted by
    to this Court before March 28, 2011. On March 25,             Class Counsel:
    2011, Class Counsel reported to the Court that the parties
 (a)          American Civil Liberties Union                                         $700,000
 (b)          Berkeley Center for Law & Technology                                   $500,000
 (c)          Berkeley Law School, Samuelson Law, Technology &                       $200,000
              Public Policy Clinic
 (d)          Berkman Center for Internet & Society at Harvard                       $500,000
              University
 (e)          Brookings Institution                                                  $165,000
 (f)          Carnegie Mellon, Cylab Usability, Privacy & Security                   $350,000
              Lab
 (g)          Center for Democracy & Technology                                      $500,000
 (h)          Electronic Frontier Foundation                                         $1,000,000
 (I)          Indiana University, Center for Applied Cybersecurity                   $300,000
              Research
 (j)          Stanford, Center for Internet & Society                                $500,000
 (k)          YMCA of Greater Long Beach                                             $300,000
 (l)          The Electronic Privacy Information Center                              $500,000
 (m)          The Markkula Center for Applied Ethics Santa Clara                     $500,000
              University
 (n)          Youth Radio                                                            $50,000
                                                                  benefits to the Settlement Class; (4) the cy pres recipient
   *4 (14) The Court has carefully considered all the             organizations will use the funds in a way that provides
    materials and arguments before it and has made its            an indirect benefit to the Class Members consistent with
    independent judgment that: (1) Plaintiffs and Class           the Class Members' claims herein; (5) the Settlement
    Members face significant risks if this litigation were to     is the product of meaningful investigation in to the
    proceed; (2) the possibility of a greater ultimate recovery   facts and circumstances of the launch of Google Buzz;
    would only occur after considerable delay; (3) the terms      (6) the settlement negotiations were extensive, arms-
    of the Settlement provide substantial and meaningful          length, under the direction of the Hon. Fern Smith, and



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                                                                           reasonable under both a common fund percentage
    without any collusion; (7) the reaction by the Settlement
                                                                           analysis and a lodestar multiplier analysis. The
    Class has been in favor of the Settlement; and (8) Class
                                                                           Court also grants Class Counsel's request for
    Counsel support the Settlement. Accordingly, having
                                                                           expense reimbursement equal to the amount of their
    considered the foregoing as well as the small number of
                                                                           reasonable expenses incurred in prosecuting this
    opt-outs and objections, the costs and risks and delays
                                                                           action and in implementing this Settlement. The
    of continued litigation versus the benefits provided by
                                                                           Court approves reimbursement of Class Counsel's
    the Settlement, and based on this Court's knowledge
                                                                           expenses totaling $29,286.85, as submitted in
    of this action, the Court finds and concludes that the
                                                                           December 2010, and orders Class Counsel to
    Settlement is in the best interests of the Class and is
                                                                           submit their final costs for Court approval within
    fair, reasonable and adequate to all Class Members. The
                                                                           30 days of this Order. The Court also approves the
    Court therefore enters Judgment in accordance with the
                                                                           requested incentive award of $2,500 for each Class
    Settlement Agreement.
                                                                           Representative. All court-awarded fees, expenses
       (15) The Settlement and the terms of the Settlement                 and reimbursements shall be paid out of the
         Agreement are accordingly granted final approval                  Common Fund. Any monies remaining in the
         and are confirmed as fair, reasonable and adequate                Common Fund after the payment of all cy pres
         and are binding upon all Class Members who have                   distribution, fees and expenses shall be distributed,
         not timely opted-out.                                             pro rata, among the cy pres recipients.

       (16) The parties are hereby directed to proceed with              *5 (20) All parties are bound by this Final Order and
         and complete implementation of the Settlement,                   Judgment and by the Settlement Agreement.
         including payment to the cy pres recipients pursuant
         to Section 3.4 of the Settlement Agreement.                    (21) Without affecting the finality of the Final
                                                                          Order and Judgment, the Court reserves continuing
       (17) The Court dismisses on the merits with prejudice              and exclusive jurisdiction over the parties and
         all claims presently before it and orders the release            their counsel, including all Class Members and
         of all Class Members' claims pursuant to Section 9               their counsel with respect to the execution,
         of the Settlement Agreement.                                     consummation, administration, implementation,
                                                                          effectuation and enforcement of the Settlement
       (18) Those Class Members who requested exclusion                   Agreement and this Order, including the entry of
         and who are listed on Exhibit 1 to the Affidavit of              any additional orders as may be necessary and
         the Class Action Administrator are hereby excluded               appropriate relating to any and all issues including
         from this Settlement.                                            any appeals.
                                                                 The Clerk shall close this file.
       (19) The Court, having considered the request of
         Class Counsel for an award of attorney fees and
         reimbursement of expenses, hereby grants the            All Citations
         request and awards Class Counsel attorney fees
         in the amount of $2,125,000. This amount was            Not Reported in F.Supp.2d, 2011 WL 7460099




                                                         Footnotes


1      (See Notice of Motion and Memorandum in Support of Motion for Order Granting Final Approval of Class
       Settlement, Certifying Settlement Class, and Appointing Class Representatives and Class Counsel, Docket
       Item No. 61.)
2      (See Class Counsel's Application for Attorneys' Fees and Reimbursement of Expenses, Docket Item No. 65.)




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